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                              EXHIBIT C
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  JANE DOE, a minor, by and through
  Her mother and next friend, MOTHER DOE,

         Plaintiff,

  v.                                                                    Case No.: 1:23-cv-23004

  ACADEMIR CHARTER SCHOOLS, INC.,
  and SUPERIOR CHARTER SCHOOL
  SERVICES, INC.,

        Defendants.
  _______________________________________/



                              DECLARATION OF HABIB HASBUN

         Pursuant to 28 U.S.C. § 1746, I Habib Hasbun, declare under penalty of perjury that:

         1.      My name is Habib Hasbun and I am an Information Technology (“IT”) consultant

  with the company Syntech.

         2.      The information contained herein is based upon my personal knowledge.

         3.      I am not an employee of Academir Charter Schools, Inc. or Superior Charter School

  Services, Inc., however I am their external IT consultant and they are my client.

         4.      I was contacted by my above referenced client around May 15, 2024 in order to

  obtain metadata on files contained on Olivia Bernal’s computer/the client’s computer system.

         5.      On May15, 2024 I personally went to the offices of the client in order to review the

  computer system and to capture the metadata of the requested files.

         6.      The documents attached hereto as Composite Exhibit “A” are evidence that I

  captured of the client’s computer system and is a true and accurate depiction of the information

  contained on Ms. Bernal’s computer system.

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         7.      The document entitled “TITLE IX POLICIES AND PROCEDURES” was

  originally created on August 10, 2022.

         8.      I affirm that the documents attached as Composite Exhibit A are accurate and

  complete and that no documents have been altered, backdated, or otherwise manipulated in any

  way that would misrepresent their authenticity or the timeline of their creation and modification.

         9.      I am available to meet with Plaintiff’s expert to explain my findings and make the

  client’s computer system available for an inspection that is limited to the viewing and retrieval of

  documents pertaining to the Title IX policies and procedures.



  I, Habi Hasbun, hereby declare under penalty of perjury that the foregoing declaration is true and

  correct.



  Executed on _June 22nd, 2024________.                        ________________________

                                                               Signature




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